         Case 1:21-cv-00336-AMM-JHE Document 14 Filed 06/08/21 Page 1 of 2                                                 FILED
                                                                                                                  2021 Jun-08 AM 09:00
                                                                                                                  U.S. DISTRICT COURT
                                                                                                                      N.D. OF ALABAMA


                            UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ALABAMA
                                  EASTERN DIVISION

    SHAEFFER COLEMAN,                                       )
                                                            )
          Petitioner,                                       )
                                                            )
    v.                                                      )     Case No. 1:21-cv-0336-AMM-JHE
                                                            )
    WARDEN THOMAS, et al.,                                  )
                                                            )
          Respondents.                                      )

                                     MEMORANDUM OPINION
         On May 10, 2021, the magistrate judge entered a report recommending

Shaeffer Coleman’s petition for a writ of habeas corpus pursuant to 28 U.S.C. § 2254

be dismissed without prejudice. Doc. 13. No objections have been filed.

         Having reviewed and considered de novo all the materials in the court file,

including the report and recommendation, the court adopts the magistrate judge’s

report and accepts his recommendations.1

         The court will enter a separate Final Judgment.




1
 While the report and recommendation states that Mr. Coleman’s previous petition was dismissed as untimely on
August 8, 2017, this appears to be a scrivener’s error. A review of the file indicates that the previous court dismissed
Mr. Coleman’s petition as untimely on May 3, 2017. See Doc. 9-3 at 4; see also 1:16-cv-0008-AKK-JHE (N.D. Ala.),
Doc. 9.
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DONE and ORDERED this 8th day of June, 2021.



                           _________________________________
                           ANNA M. MANASCO
                           UNITED STATES DISTRICT JUDGE




                                2
